108 F.3d 1374
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Rupert O. STONECIPHER, Defendant-Appellant.
    No. 96-7501.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 19, 1997.
    
      Rupert O. Stonecipher, Appellant Pro Se.  Hunter P. Smith, Jr., Assistant United States Attorney, Charleston, WV, for Appellee.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rupert Stonecipher appeals the district court's order denying Stonecipher's motion to remit his fine.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Stonecipher, No. CR-90-156 (S.D.W.Va. Sept. 10, 1996).  Stonecipher's motion for provision of transcript at government expense is denied.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    